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AO 442 (Rev. 01/09) Arrest Warrant



                                         United States District CouRifirj                                       «          n
                                                                                                   11' ^            ^      ic
                                                                for the

                                                    Eastern District of Virginia                  if I mi.em, 111
                                                                                                    , .           ..        v/am           i,,


                      United States of America
                                                                                                 If
                                                                                                 [__
                                                                                                                                           "■
                                 V.                               )
                Abdirizak Hagi Raghe Wehelie                      ^       CaseNo. ''•17CR295 CMH

                             Defendant


                                                    ARREST WARRANT

To:       Any authorized law enforcement officer


          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested) Abdirizak Hag! Raghe Wehelie                                                                                      ,
who is accused of an offense or violation based on the following document filed with the court:                                       ^
                                                                                                            ^                         2;
                                                                                                                       m        -S    ^
sf Indictment              □ Superseding Indictment      □ Information       □ Superseding Information?^ Co@laiiS
□ Probation Violation Petition            □ Supervised Release Violation Petition      □ Violation Not^^Si Oitter oft^i^ourt
This offense is briefly described as follows:
                                                                                                           o=ec/3           aj.
                                                                                               <>3
18 U.S.C. § lOOIFalse Statements, 18 U.S.C. § 1519 Obstruction of Federal Investigation, 18 U.S®.      ^ SS
                                                                                                  §^01 ^^klrQFalse
Statements, and 18 U.S.C. § 1001 Making False Statements                                                   §                        ^
                                                                                                                        ' vo         >.




Date: 12/06/2018



City and state: Alexandria, Virginia                                          Ifittl-iNA
                                                                                          Printednameojid title                 '     /


                                                               Return

          This warrant was received on (date)                         ^       person was arrested on (date)             ^
at (city and state)


Date:                 G hlX\                                                                               ^
                                                                                       Arresting officer's signature



                                                                                         Printed name and title
